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 Counsel to Westchester Fire Insurance Company

 IN THE UNITED STATES BANKRUPTCY COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK
 In re:                                                  Chapter 11

 PURDUE PHARMA L.P, et al.,1                             Case No. 19-23649 (RDD)

                                                         (Joint Administration Pending)

                  Debtors.

                  NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

          PLEASE TAKE NOTICE that pursuant to Rule 9010 of the Federal Rules of Bankruptcy

 Procedure, Gary D. Bressler, Esquire of McElroy, Deutsch, Mulvaney & Carpenter, LLP,

 appears for Westchester Fire Insurance Company and its affiliated sureties (collectively,

 “Westchester”), and pursuant to Rules 2002(g), 2002(i), and 9007, requests, unless otherwise

 directed by the Court, that all notices that are required to be given in this case or in any related

 adversary proceeding, and all papers that are required to be served in this case be given to and

 served upon the undersigned, at the office, telephone and facsimile number set forth below:

                                   Gary D. Bressler, Esquire
                         McElroy, Deutsch, Mulvaney & Carpenter, LLP
                             1617 John F. Kennedy Blvd., Ste. 1500
                                    Philadelphia, PA 19103

 1
   The Debtors in these chapter 11 cases, along with the last for digits of each Debtor’s registration number in the
 applicable jurisdiction, are as follows: Purdue Pharma L.P. (7484), Purdue Pharma Inc. (7486), Purdue Transdermal
 Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
 Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
 Seas Hill Corp. (4591), Ophir Green Corp. (4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P. (4140),
 Purdue Pharmaceutical Products L.P. (3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
 (7805), Button Land L.P. (7502), Rhodes Associates L.P. (N/A), Paul Land Inc. (7425), Quidnic Land L.P. (7584),
 Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
 SVC Pharma Inc. (4014). The Debtors’ corporate headquarters is located at One Stamford Forum, 201 Tresser
 Boulevard, Stambford, CT 06901. A motion for joint administration is pending.
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        PLEASE TAKE FURTHER NOTICE that request is hereby also made for service of

 copies of all papers, including but not limited to reports, pleadings, motions, applications or

 petitions, schedules, plans, disclosure statements (or any drafts, thereof), and answering reply

 papers filed in the above-captioned case or any related adversary proceeding by mailing one

 copy of each, unless otherwise directed by the Court to the above address.

        PLEASE TAKE FURTHER NOTICE that Westchester does not intend this Notice of

 Appearance and Request for Notices and Service of Papers, nor any subsequent appearance,

 pleading, claim, or suit, to waive any rights to which they may be entitled including, but not

 limited to: (i) their rights to have final orders in non-core matters entered only after de novo

 review by a District Judge; (ii) their rights to trial by jury in any proceeding related to this case;

 (iii) their rights to have the District Court withdraw the reference in any matter subsequent to

 mandatory or discretionary withdrawal; or (iv) any rights, claims, actions, defenses, setoffs, or

 recoupments to which they may be entitled under agreements, in law or in equity, all of which

 rights, claims, actions, defenses, setoffs, and recoupments they expressly reserve.

        PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

 Notices and Service of Papers does not constitute an agreement to accept services of initial

 process under Rule 4, Fed. R. Civ. P., or Rule 7004, Fed. R. Bankr. P., nor shall it result in

 undersigned counsel being deemed to be the agent of Westchester for such purpose.

                                                McELROY, DEUTSCH, MULVANEY
                                                & CARPENTER, LLP
 Dated: September 16, 2019                      /s/ Gary D. Bressler
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                                                Counsel to Westchester Fire Insurance Company


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